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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE MlDDLE DlSTRlCT OF GEORG|A
VALDOSTA D|VlSlON

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THE B & F SYSTEM’ lNC., UN§TED §§“S"ATESif)iS“Fi`€i©'i`§j{)U§§T

V.

LLOYD J. LEBLANC JR., MAXAM
WHOLESALE OF ATLANTA, lNC., DlRECT
SOURCE |MPORTS, lNC., ARTHUR JEFFREY
LEBLANC, LLOYD LEBLANC, lll, PRODUCTOS
MEX|CANOS DON JOSE, lNC., LEBLANC’S
LLC, and EDNA G. LEBLANC,

Plainurf,
civiiACtion No. 7;07-cv-192 (HL)

Defendants.

 

 

SPEC|AL lNTERROGATOR|ES TO THE JURY - PHASE ll
BREACH OF CONTRACT

The B & F System, lnc.’s Breach of Contract C|aims - Maxam Independent
Distributor Agreement

Do you find that B&F proved by a preponderance of the evidence that Lioyd LeB|anc
breached Paragraphs 4 or E of the Maxam independent Distributor Agreement?

ref YES NO

if you answered YES to Question 1, what is the amount of damages, if any, you
award B&F as a result of the breach of the i\/|axam Independent Distributor
Agreement?

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The B & F System, lnc.’s Breach of Contract C|aims - Service Mark License
Agreement

Do you find that B&F proved by a preponderance of the evidence that Lioyd
LeBlanc breached Paragraphs 1, 2, 3, 4, or 6 of the Service Mark License
Agreement?

_`/___ YEs ________ No

|f you answered YES to Question 3, what is the amount of damages, if any, you
award B&F as a result of the breach of the Service i\/Iark License Agreement?

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Lioyd J. LeB|anc Jr.’s Breach of Contract Counterclaim - Maxam independent
Distributor Agreement

Do you find that Lioyd LeB|anc proved by a preponderance of the evidence that
B&F breached Paragraph 9 of the Maxam independent DistributorAgreement’?

YES W NO

if you answered YES to Question¢,@téjjv§/;hat is the amount of damages, if any, you
award Lioyd LeB|anc as a result bf the breach of the i\/iaxam independent
Distributor Agreement?

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Lioyd J. LeB|anc Jr.’s Breach of Contract Counterclaim - Maxam independent
Distributor Agreement, as modified

Did L|oyd LeB|anc prove by a preponderance of the evidence that the i\/iaxam
independent Distributor Agreement was modified or amended through course of
dealing or course of performance, and was breached by B&F?

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YES sf NO

if you answered YES to Question 7, what is the amount of damages, if any, you
award Lioyd LeB|anc as a result of the breach of the Maxam independent
Distributor Agreement?

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L|oyd J. LeB|anc Jr.’s Counterclaim - Breach of Covenant of Good Faith and
Fair Deaiing

if you answered YES to Question 5 g[ 7, please answer Question 9.
if you answered NO to both Questions 5 a_ng 7, skip to Question 11.

Did Lioyd LeB|anc prove by a preponderance of the evidence that B&F breached
the covenant of good faith and fair dealing implied under the Maxam independent
Distributor Agreement?

YES NO

 

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if you answered YES to Question 9, what is the amount of damages, if any, you
award Lioyd LeB|anc as a result of the breach of the covenant of good faith and fair
deaHng?

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TORT|OUS lNTERFERENCE

Did B&F prove by a preponderance of the evidence that Productos i\/iexicanos Don
Jose, inc. tortiously interfered with the contractual relationship between Lioyd
LeB|anc and B&F established by the l\/iaxam independent Distributor Agreement
prior to the termination of the Agreement on i\/iay 31, 2007?

ray YEs No

if you answered YES to Question 11, what is the amount of damages, if any, you
award B&F as a result of the tortious interference by Productos i\/iexicanos Don
Jose, inc.?

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Did B&F prove by a preponderance of the evidence that Direct Source imports, inc.
tortiously interfered with the contractual relationship between Lioyd LeB|anc and
B&F established by the i\/iaxam independent DistributorAgreement during the time
period of i\/iay 25, 2007 and i\/iay 31, 2007?

_»»=9 YES ________ No

if you answered YES to Question 13, what is the amount of damages, if any, you
award B&F as a result of the tortious interference by Direct Source imports, inc.?

Did B&F prove by a preponderance of the evidence that Edna LeB|anc tortiously
interfered with the contractual relationship between Lioyd LeB|anc and B&F
established by the Service i\/iark License Agreement prior to the termination of the
Agreement on November 12, 2007?

9 YEs No

if you answered YES to Question 15, what is the amount of damages, if any, you
award B&F as a result of the tortious interference by Edna LeBianc?

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Did B&F prove by a preponderance of the evidence that Jeff LeB|anc tortiously
interfered with the contractual relationship between Lioyd LeB|anc and B&F
established by the Service Mark License Agreement prior to the termination of the
Agreement on November 12, 2007?

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rt YEs No

if you answered YES to Question 17, what is the amount of damages, if any, you
award B&F as a result of the tortious interference by Jeff LeBianc?

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Did B&F prove by a preponderance of the evidence that Jody LeB|anc tortiously
interfered with the contractual relationship between Lioyd LeB|anc and B&F
established by the Service Mark License Agreement prior to the termination of the
Agreement on November 12, 2007?

art YEs No

if you answered YES to Question 19, what is the amount of damages, if any, you
award B&F as a result of the tortious interference by Jody LeBianc?

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Did B&F prove by a preponderance of the evidence that Productos i\/iexicanos Don
Jose, inc. tortiously interfered with the contractual relationship between Lioyd
LeB|anc and B&F established by the Service Mark License Agreement prior to the
termination of the Agreement on November 12, 2007?

ed YEs No

if you answered YES to Question 21, what is the amount of damages, if any, you
award B&F as a result of the tortious interference by Productos i\/iexicanos Don
Jose, inc.?

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Did B&F prove by a preponderance ofthe evidence that Direct Source imports, inc.
tortiously interfered with the contractual relationship between Lioyd LeB|anc and
B&F established by the Service Mark License Agreement during the time period of
i\/iay 25, 2007 to November 12, 2007?

rt YEs No

 

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24. if you answered YES to Question 23, what is the amount of damages, if any, you
award B&F as a result of the tortious interference by Direct Source imports, inc.?

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LANHAM ACT AND RELATED sTATE LAW cLAlivls

|. The B & F System, lnc.’s Trademark infringement Ciaim - MAXAM Registered
Trademark

25, Did B&F prove by a preponderance of the evidence that L|oyd LeB|anc infringed on
B&F’s MAXAM registered trademari<?

ry YEs No

26. Did B&F prove by a preponderance of the evidence that Jeff LeB|anc infringed on
B&F’s MAXAM registered trademark?

____§:___YES _________No

27. Did B&F prove by a preponderance of the evidence that Jody LeB|anc infringed on
B&F’s MAXAM registered trademark?

v“` YEs No

28. Did B&F prove by a preponderance ofthe evidence that Edna LeB|anc infringed on
B&F’s MAXAM registered trademark?

____i:§__YEs _________No

29. Did B&F prove by a preponderance of the evidence that i\/iaxam Whoiesaie of
Atianta, inc. infringed on B&F’s MAXAM registered trademark?

____E:;__Yes ______~__No

30. Did B&F prove by a preponderance of the evidence that Direct Source imports, inc.
infringed on B&F’s MAXAM registered trademark?

V“ YEs No

31. Did B&F prove by a preponderance of the evidence that Productos i\/iexicanos Don
Jose, |nc. infringed on B&F's i\/|AXAi\/i registered trademark?

i’ YES NO

 

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Did B&F prove by a preponderance of the evidence that LeBianc’s LLC infringed on
B&F’s MAXAM registered trademark?

YES a/‘"i NO
The B & F System, lnc.’s Trademark infringement Ciaim - Lid Knob Trademark

Did B&F prove by a preponderance of the evidence that the lid knob trademark is a
valid trademark?

___1£:___YES _________No

if you answered YES to Question 33, please answer Questions 34-41.
if you answered NO to Question 33, skip to Question 42.

Did B&F prove by a preponderance of the evidence that Lioyd LeBianc infringed on
the iid knob trademark?

___;§:;__YES _________No

Did B&F prove by a preponderance of the evidence that Jeff LeBianc infringed on
the lid knob trademark?

§,/
vi YES NO

Did B&F prove by a preponderance of the evidence that Jody LeBianc infringed on
the lid knob trademark?

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W“ YEs No

Did B&F prove by a preponderance of the evidence that Edna LeBianc infringed on
the lid knob trademark?

adi YEs No

Did B&F prove by a preponderance of the evidence that Maxam Whoiesaie of
Atianta, inc. infringed on the lid knob trademark?

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3 YES NG

Did B&F prove by a preponderance of the evidence that Direct Source imports, inc.
infringed on the lid knob trademark?

j YES NO

 

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Did B&F prove by a preponderance of the evidence that Productos l\/iexicanos Don
Jose, inc. infringed on the lid knob trademark?

____Y:;__YES _________No

Did B&F prove by a preponderance of the evidence that LeBianc’s LLC infringed on
the lid knob trademark?

YEs et No

The B & F System, lnc.’s Common Law Trademark infringement Ciaim -
“Maxam Whoiesaie”

Did B&F prove by a preponderance of the evidence that it owns “l\/iaxam
Whoiesaie”?

til/3 YES NG

if you answered YES to Question 42, please answer Question 43.
if you answered NO to Question 42, please skip to Question 52.

Did B&F prove by a preponderance of the evidence that “i\/iaxam Whoiesaie” is a
valid trademark?

e”i YEs No

if you answered YES to Question 43, please answer Questions 44-5‘|.
if you answered NO to Question 43, skip to Question 52.

Did B&F prove by a preponderance of the evidence that Lioyd LeBianc infringed on
B&F’s “l\/iaxam Whoiesaie” trademark?

tw" YEs No

Did B&F prove by a preponderance of the evidence that Jeff LeBianc infringed on
B&F’s “i\/iaxam Whoiesaie” trademark?

e”i YEs No

Did B&F prove by a preponderance of the evidence that Jody LeBianc infringed on
B&F’s “i\/laxam Whoiesaie” trademark?

____af:__YEs _________No

 

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Did B&F prove by a preponderance of the evidence that Edna LeBianc infringed on
B&F’s “i\/iaxam Whoiesaie” trademark?

YES NO

Did B&F prove by a preponderance of the evidence that Maxam Whoiesaie of
Atianta, inc. infringed on B&F’s “Maxam Whoiesaie” trademark?

YEs No

Did B&F prove by a preponderance of the evidence that Direct Source imports, inc.
infringed on B&F’s “i\/iaxam Whoiesaie” trademark?

YES NO

Did B&F prove by a preponderance of the evidence that Productos l\/iexicanos Don
Jose, lnc. infringed on B&F’s “i\/iaxam Whoiesaie” trademark?

YES NO .

Did B&F prove by a preponderance of the evidence that LeBianc’s LLC infringed on
B&F’s “i\/laxam Whoiesaie” trademark?

YEs ` No
The B & F System, lnc.’s Faise Designation of Origin/Unfair Competition Ciaim

Did B&F prove by a preponderance of the evidence its claim of false designation of
origin/unfair competition as to Lioyd LeBianc?

YEs No

Did B&F prove by a preponderance of the evidence its claim of false designation of
origin/unfair competition as to Jeff LeBianc?

YES NO

Did B&F prove by a preponderance of the evidence its claim of false designation of
origin/unfair competition as to Jody LeBianc?

YES NO

 

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Did B&F prove by a preponderance of the evidence its claim of false designation of
origin/unfair competition as to Edna LeBianc?

YEs ri No

Did B&F prove by a preponderance of the evidence its claim of false designation of
origin/unfair competition as to l\/laxam Whoiesaie of Atianta, inc.?

YEs 9fi No

Did B&F prove by a preponderance of the evidence its claim of false designation of
origin/unfair competition as to Direct Source imports, inc.?

rdi YEs No

Did B&F prove by a preponderance of the evidence its claim of false designation of
origin/unfair competition as to Productos i\/iexicanos Don Jose, inc.?

w”i YES No

Did B&F prove by a preponderance of the evidence its claim of false designation of
origin/unfair competition as to LeBianc’s LLC?

YEs ti` No

if you answered YES to any question in Questions 25-59, please answer Questions
60-64.

if you answered NO to every question in Questions 25-59, skip to Question 65.

Did B&F prove by a preponderance of the evidence that it suffered actual damages
as a result of a violation of the Lanham Act?

pie

____ii;__YEs _*_______No

if you answered YES to Question 60, what is the amount of actual damages, if any,
you award B&F on its Lanham Act ciaims? -

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Do you find by a preponderance of the evidence that B&F is entitled to the liable
Defendants’ profits attributable to the Lanham Act violations?

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YES NO

 

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if you answered YES to Question 62, what is the amount of the liable Defendants’
profits, if any, you award B&F on its Lanham Act claims?

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Did B&F prove by a preponderance of the evidence that the liable Defendants’
actions were malicious, fraudulent, deliberate, or willful? The Court will deal with
your finding in post-trial proceedings after you have been excused.

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t YEs No

The B & F System, lnc.’s Georgia Uniform Deceptive Trade Practices Act Ciaim

if you answered YES to any question regarding B&F’s false designation of origin
claim (Questions 52-59), you must find that B&F established its Georgia Uniform
Deceptive Trade Practices Act claim by a preponderance of the evidence.

if you answered NO to every question regarding B&F’s false designation of origin
claim (Questions 52-59), you must find that B&F did not establish its Georgia
Uniform Deceptive Trade Practices Act claim by a preponderance of the evidence.

Based on your answers to Questions 52-59, please respond YES or NO below as to
B&F’s Georgia Uniform Deceptive Trade Practices Act claim.

tfi YEs No

if you answered YES to Question 65, has B&F proved by a preponderance of the
evidence that the liable Defendants willfully engaged in the trade practice knowing it
to be deceptive’? The Court will deal with your finding in post-trial proceedings after
you have been excused.

tdi YEs No
The B & F System, lnc.’s Cyberpiracy Ciaim
Did B&F prove by a preponderance of the evidence that Jeff LeBianc committed
cyberpiracy in violation of the Anticybersquatting Consumer Protection Act through
his use of the domain names maxamwhoiesale.com and/or maxamwhoiesale.net

during the time period of i\/lay 31, 2007 to June 4, 2011?

k/i YEs No

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if you answered YES to Question 67, please answer Questions 68-70.
if you answered NO to Question 67, skip to Question 71.

What is the amount of actual damages, if any, you award B&F on the cyberpiracy
claim?

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What is the amount of the defendants profits, if any, you award B&F on the
cyberpiracy claim?

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Did B&F prove by a preponderance of the evidence that Jeff LeBianc’s actions were
maiicious, fraudulent, deliberate, or willfu|? The Court will deal with your finding in
post-trial proceedings after you are excused.

YES NO

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Did B&F prove by a preponderance of the evidence that L|oyd LeB|anc, Edna
LeB|anc, Jeff LeB|anc, and Jody LeBianc engaged in a civil conspiracy?

9”3 YEs No

Did B&F prove by a preponderance of the evidence that Direct Source imports, inc.
and Productos i\/iexicanos Don Jose, lnc. engaged in a common business
enterprise?

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t YEs No

if you found that Productos i\/iexicanos Don Jose, inc. tortiously interfered with either
the i\/iaxam independent Distributor Agreement or the Service i\/iark License
Agreement (Questions 11 and 21), please answer the foilowing:

Shouid Jody LeBianc be held personally liable for any torts committed by Productos
l\/iexicanos Don Jose, inc.?

i// YEs No

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Shouid Jeff LeBianc be held personally liable for any torts committed by Productos
i\/lexicanos Don Jose, inc.?

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if YES NO

if you found that Direct Source imports, lnc. tortiously interfered with either the
l\/iaxam independent DistributorAgreement orthe Service Mark License Agreement
(Questions 13 and 23), please answer the foilowing:

Shouid Jody LeBianc be held personally liable for any torts committed by Direct
Source imports, inc.?

vf YEs No

Shouid Jeff LeBianc be held personally liable for any torts committed by Direct
Source imports, inc.?

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YES NO

if you found that i\/iaxam Whoiesaie of Atianta, lnc. is liable for trademark
infringement or false designation of origin/unfair competition (Questions 29, 38, 48
and 56), please answer the foilowing:

Shouid Lioyd LeBianc be held personally liable for any trademark infringement or

false designation of origin/unfair competition committed by i\/iaxam Whoiesaie of
Atianta, inc.?

YES ` il NO

if you found that Productos i\/lexicanos Don Jose, inc. is liable for trademark
infringement or false designation of origin/unfair competition (Questions 31, 40, 50,
and 58), please answer the foilowing:

Shouid Jody LeBianc be held personally liable for any trademark infringement or
false designation of origin/unfair competition committed by Productos l\/iexicanos
Don Jose, inc.?

__B:;____YES _________No

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Shouid Jeff LeBianc be held personally liable for any trademark infringement or
false designation of origin/unfair competition committed by Productos i\/iexicanos
Don Jose, inc.?

3’/ YES NO

if you found that Direct Source imports, lnc. is liable for trademark infringement or
false designation of origin/unfair competition (Questlons 30, 39, 49, and 57), please
answer the foilowing:

Shouid Jody LeBianc be held personally liable for any trademark infringement or
false designation of origin/unfair competition committed by Direct Source imports,
inc.?

\9/ YEs No

Shouid Jeff LeBianc be held personally liable for any trademark infringement or
false designation of origin/unfair competition committed by Direct Source imports,
inc.?

ali/_____ YEs ______ No

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